                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:19-cv-2502-RM-NYW


 MARY BENSON,

 Plaintiff,

 v.

 STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

 Defendant.




 DEFENDANT’S MOTION TO COMPEL RESPONSE TO SUBPOENA TO PRODUCE
     TO NONPARTY GENESIS ELDERCARE PHYSICIAN SERVICES, INC.


         Pursuant to Fed. R. Civ. P. 37(a)(1) and 45(d)(2)(B)(i), defendant State Farm

Mutual Automobile Insurance Company (“State Farm”) respectfully requests that the

court order nonparty Genesis Eldercare Physician Services, Inc. (“Genesis”) to

respond to State Farm’s subpoena to produce records, and in support states:

                    D.C.COLO.LCivR 7.1(a) Certification of Conferral

         State Farm’s undersigned counsel states that she has been unable to confer with

Genesis regarding the relief requested by this Motion because Genesis did not respond

to State Farm’s subpoena. State Farm therefore assumes Genesis opposes this Motion.

                                         MOTION

         Federal Rule of Civil Procedure 37(a)(1) allows this court to order a nonparty to


{03985655 / 1}
respond to a subpoena. See also C.R.C.P. 45(d)(2)(B)(i) (permitting a party issuing a

subpoena to move to compel responses when objections are made). Here, State Farm

served a valid subpoena on nonparty Genesis and has received no response. The court

should therefore order Genesis to respond.

         Specifically, in this case, plaintiff claims she is entitled to economic damages for

past and future wages losses. Plaintiff did not disclose the amount of wage loss damages

she claims, how that amount is calculated, or supporting documentation. See Fed. R. Civ.

P. 26(a)(1)(A)(III). Instead, in response to written discovery requests, plaintiff

“conservatively” estimated past wage losses of $100,000 and future wage losses of

$150,000, “less perhaps six months to a year for unrelated medical conditions that have

affected by employability.” Genesis was among past employers plaintiff identified in

responding to written discovery. Plaintiff did not produce her Genesis employment file—

or that of any of her other past employers—but she executed releases that would permit

State Farm to obtain those files.

         On December 10, 2019, therefore, State Farm issued to Genesis and on

December 11, 2019 personally served on its Colorado registered agent a subpoena to

produce all of its records pertaining to plaintiff. See Subpoena to Produce to Genesis,

Dec. 10, 2019 (the “Subpoena”) (attached as Exhibit A); Aff. of Serv, Dec. 11, 2019

(attached as Exhibit B).1 The Subpoena required Genesis to produce responsive



1According to Genesis’s most recent report filed with the Colorado Secretary of State, its
Colorado registered agent is Corporation Service Company, 1900 West Littleton Blvd.,
Littleton, CO 80120. See Genesis Periodic Report at 1, Sept. 23, 2019 (attached as
Exhibit C). This is the entity upon which personal service was effected. See Exh. B.
{03985655 / 1}                                2
documents on or before December 26, 2019, or eight days longer than required under

this court’s local rules. See Exh. A at 1. See also D.C.COLO.LCivR 45.1 (requiring a

minimum of seven days to respond to subpoena).

         Genesis never responded to the Subpoena, either by producing responsive

records, stating its objections in writing, or filing a motion to quash. Genesis’s failure to

respond warrants an order compelling it to do so. See Fed. R. Civ. P. 37(a)(1),

45(d)(2)(B)(i).

         For these reasons, State Farm respectfully requests that the court grant this Motion

and order Genesis to respond to the Subpoena.

         Dated this February 12, 2020.

                                                  MESSNER REEVES LLP

                                                  /s/ Heather A. Salg
                                                  Heather A. Salg
                                                  MESSNER REEVES LLP
                                                  7935 East Prentice Avenue, Suite 312
                                                  Greenwood Village, Colorado 80111
                                                  Phone:303.623.1800
                                                  Fax: 303.623.0552
                                                  Email: hsalg@messner.com
                                                  Attorneys for Defendant State Farm
                                                  Mutual Automobile Insurance Company




{03985655 / 1}                                3
                              CERTIFICATE OF SERVICE

I hereby certify that on February 12, 2020, the foregoing DEFENDANT’S MOTION TO
COMPEL RESPONSE TO SUBPOENA TO PRODUCE TO NONPARTY GENESIS
ELDERCARE PHYSICIAN SERVICES, INC. was filed via the court’s ECF filing system,
which caused electronic service to be made on the following:

         David A. Klibaner, Esq.
         Pamela K. Pritzel, Esq.
         Klibaner Law Firm, PC
         899 Logan Street, Suite 200
         Dever, CO 80203
         david@dklawfirm.com
         Attorneys for Plaintiff

I further certify that on February 12, 2020 the foregoing DEFENDANT’S MOTION TO
COMPEL RESPONSE TO SUBPOENA TO PRODUCE TO NONPARTY GENESIS
ELDERCARE PHYSICIAN SERVICES, INC. was served on the following via U.S. Mail:

         Genesis Eldercare Physician Services, Inc.
         c/o Registered Agent Corporation Service Company
         1900 West Littleton Blvd.
         Littleton, CO 80120



                                              /s/ Heather A. Salg
                                              Heather A. Salg




{03985655 / 1}                            4
